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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


KENNETH WRIGHT,                        )
                                       )
      Plaintiff,                       )
                                       )         Case No.: 1:21-cv-5085
v.                                     )
                                       )         Judge Franklin U. Valderrama
DJ INTERNATIONAL RECORDS, ASCAP, )
POP STAR PUBLISHING, LONDON            )         Magistrate Judge Sheila M.
RECORDS/FFRR, BOLLORÉ SE,              )         Finnegan
VIVENDI SE, THE SEAGRAM                 )
COMPANY LTD., WARNER BROS.,             )
HARMLESS RECORDS, POLYDOR               )
JAPAN, VIRGIN EMI, DEMON MUSIC,        )
PEERMUSIC, SOUNDEXCHANGE,              )
SPOTIFY, BMI AND UNIVERSAL             )
MUSIC GROUP, AND JOHN DOES 1-10,       )
                                       )
      Defendants.                      )
_______________________________________)


   DEFENDANT SOUNDEXCHANGE, INC.’S MEMORANDUM OF LAW IN SUPPORT
        OF ITS MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
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        Defendant    SoundExchange,       Inc.   (“SoundExchange”)       respectfully    submits    this

Memorandum of Law in support of its Motion to Dismiss the First Amended Complaint (“FAC,”

Dkt. 36) of Plaintiff Kenneth Wright (“Plaintiff”).

                               I. PRELIMINARY STATEMENT

        Pro se plaintiff Kenneth Wright’s FAC cures none of the Complaint’s dispositive defects,

adds no relevant factual allegations to support the underlying claims, and attempts to include a

new cause of action that is not legally cognizable. Plaintiff asserts claims against seventeen

defendants, including moving defendant SoundExchange, relating to a recording entitled “All Dis

Muzic,” which he purportedly made more than thirty-five years ago. Plaintiff’s nine claims can

be divided roughly into two groups, copyright infringement (Counts I-III) and state law claims

sounding in breach of contract and related claims for equitable relief (Counts IV-IX).

        Defendant SoundExchange is a nonprofit collective rights management organization,

which has been designated by the U.S. Congress to collect and distribute digital performance

royalties for sound recordings. SoundExchange pays featured and non-featured artists and sound

recording rights owners for non-interactive use under the statutory licenses set forth in 17 U.S.C.

§§ 112 and 114. Other than identifying SoundExchange as a defendant (FAC ¶ 17), Plaintiff has

not asserted any claims against, or allegations concerning, SoundExchange in any manner. Even

given a certain leeway to pro se litigants, such laxity cannot permit Plaintiff to haul innocent parties

into court without any basis. To the extent Plaintiff has any claims, they are limited to contractual

claims against defendants D.J. International Records (“DJ”) and Pop Star Music Publishing (“Pop

Star”), and even then, would be subject to the Illinois statute of limitations of ten years.

        All of Plaintiff’s claims are based upon the false premise that Plaintiff is the owner of the

copyrights in “All Dis Muzic” and that the defendants, in one capacity or another, have exploited




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the recording without his consent. In truth, as confirmed in the FAC by Plaintiff himself, Plaintiff

entered into agreements with DJ and Pop Star, assigning all of his rights to those defendants. The

existence of these agreements prove fatal to Plaintiff’s claims seeking damages for copyright

infringement. Moreover, the false premise that none of the defendants had any rights to this

recording infuses Plaintiff’s remaining claims, rendering them similarly untenable. As such, all of

Plaintiff’s claims against SoundExchange should be dismissed with prejudice.

                                     II. BACKGROUND1

       Plaintiff Kenneth Wright purports to own the copyrights in “the distinctive ‘sound

recording’ song” titled “All Dis Muzic,” created in the 1980s. (FAC ¶ 25.) On or about October

6, 1986, Plaintiff and defendant DJ entered into an exclusive Contract for Recording Artists (the

“Recording Agreement,” Declaration of Laura K. McNally, dated April 4, 2022 (“McNally

Decl.”), Ex. 1), pursuant to which DJ “employ[ed]” Plaintiff “to render personal services for [DJ]

or in [its] behalf for the purpose of recording and making phonograph records.” (Ex. 1 ¶ 1.) Under

the Recording Agreement, Plaintiff expressly agreed that “[a]ll recordings hereunder and all

records and production made therefrom, together with sound recording copyrights therein and the

performances embodied therein, shall be entirely [DJ’s] property, free of any claims whatsoever

by [Plaintiff] or any person deriving any rights or interests from [Plaintiff].” (Id. at ¶ 8.) The




1
  The facts below are taken from the FAC, and two agreements central to its allegations and
implicitly referenced therein. (See, e.g., FAC ¶ 36 (“The fact that this single was never released
in North America, for the DJ International™ label it was produced under....”); id. at ¶ 40 (“When
the song “All Dis Music” was taken overseas in 1987 by DJ International, Mr. Wright had only
done what is known as a ‘test pressing’ but had departed from Chicago with a verbal understanding
that...(the label owners of DJ International) would contact him....”).) The Court may consider
those agreements in deciding the instant motion. See Bell v. Chi. Cubs Baseball Club, LLC, No.
19-cv-2386, 2020 U.S. Dist. LEXIS 17527, at *8 (N.D. Ill. Feb. 4, 2020). In the event the Court
determines that it may not consider the documents submitted with this motion to dismiss, the Court
may convert this motion to a motion for summary judgment. See Fed. R. Civ. P. 12(d).


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Recording Agreement further provided that all of Plaintiff’s performances were “made for hire”

within the scope of his employment, and that DJ is “to be considered the author for the purpose of

copyrights in sound recordings and . . . own[s] all of the rights comprised in such copyrights.”

(Id.) In addition, Plaintiff granted DJ and its licensees “the right to make records or other

reproductions of the performances embodied in [Plaintiff’s] recordings by any method now or

hereafter known, and to sell and deal in the same . . . .” (Id.)2

         Plaintiff signed and initialed each page of the Recording Agreement, which lists his full

name, address, phone numbers, and (redacted) social security number on the first page. (See

generally id.) Eight days after Plaintiff assigned DJ all rights in his musical recordings, the U.S.

Copyright Office issued a copyright registration, of which the Court may take judicial notice, 3 for

“1 sound cassette + lyrics” entitled “All Dis Muzic.” (FAC ¶ 25; McNally Decl., Ex. 3.)

         On or about February 4, 1987, Plaintiff and defendant Pop Star entered into an Exclusive

Songwriter’s Agreement (the “Publishing Agreement,” and together with the Recording

Agreement, the “Agreements,” McNally Decl., Ex. 2), pursuant to which Pop Star “employ[ed]”

Plaintiff “to render his services as a songwriter and composer . . . .” (Ex. 2 ¶ 1.) Under the

Publishing Agreement, Plaintiff expressly agreed to:

         “irrevocably and absolutely assign[], transfer[], set[] over and grant[] to [Pop Star], its
         successors and assigns . . . all rights and interests of every kind, nature and description in
         and to the results and proceeds of [Plaintiff’s] services hereunder . . . which musical works
         have been written, composed, created, or conceived, in whole or in part, by [Plaintiff] . . .
         and which may hereafter during the term hereof, be written, composed, created or
         conceived by [Plaintiff] . . . and which are now owned or controlled and which may, during
         the term hereof, be owned or controlled, directly or indirectly, by [Plaintiff] . . . including
         the title, words and music of each composition, and all world-wide copyrights . . . .



2
  In exchange for these rights and assignments, DJ agreed to pay Plaintiff certain advances and
royalties on the sales of Plaintiff’s recordings. (See id. at ¶¶ 3-6.)
3
    See Blue Book Servs. v. Farm Journal, Inc., 435 F. Supp. 3d 912, 916 (N.D. Ill. 2020).


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(Id. at ¶ 3) (emphasis added.) Plaintiff further agreed and represented that all such rights, including

copyrights, “are and shall at all times be [Pop Star’s] sole and exclusive property as the sole owner

thereof[.]” (Id.) In addition, the Publishing Agreement provided that the grant of rights thereunder

specifically included exploitation of Plaintiff’s compositions by, among other things, public

performance, the sale of sheet music, and synchronization with “master records, transcriptions,

sound tracks, pressings, and any other mechanical, electrical or other reproductions of said

compositions….”      (Id. at ¶ 3(a)-(f).)4   Like the Recording Agreement, Plaintiff signed the

Publishing Agreement and initialed each page of the Publishing Agreement. (See generally id.)

       Plaintiff filed this lawsuit on September 24, 2021, asserting eight causes of action against

more than a dozen different music industry defendants and seeking more than $975 million in

damages and equitable relief. (See generally Cmplt, Dkt. 1.) On January 28, 2022, defendant

SoundExchange moved to dismiss the Complaint for legal and factual insufficiency and failure to

state a claim. (Dkt. 19.) Plaintiff subsequently filed the FAC on March 21, 2022, in lieu of

responding to SoundExchange’s motion to dismiss. Plaintiff alleges that DJ “illegally conveyed

authority over the sale, manufacture and distribution of a ‘test pressing’ for ‘All Dis Music’ without

sharing any knowledge of this” with Plaintiff, and engaged in the “blatant and pervasive spread of

his music without any regard to his ownership in copyright.” (FAC ¶¶ 25, 39.) Plaintiff further

alleges that DJ and Pop Star “accepted royalty payments, unbeknownst to Mr. Wright, of proceeds

acquired from the profits derived from the song … .” (Id. at ¶ 31.) Plaintiff’s FAC contains no

specific allegations of wrongdoing (or indeed, mention of any conduct whatsoever) by

SoundExchange or any of the defendants other than DJ and Pop Star.




4
 In exchange for these rights and assignments, Pop Star agreed to pay Plaintiff certain advances
and royalties on the exploitation of Plaintiff’s compositions. (See id. at ¶¶ 7-8.)


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        Plaintiff admittedly became aware of the allegedly unlawful exploitation “in 2003 when, a

colleague discovered it online.” (Id. at ¶ 96.) Plaintiff began making inquiries regarding this

matter to the defendants no later than August 31, 2005. (See id. at ¶¶ 105-06.)

                                    III.   LEGAL STANDARD

        “A Rule 12(b)(6) motion challenges the legal sufficiency of the complaint,” and to survive

such a motion to dismiss, “a plaintiff’s complaint must allege facts which, when taken as true,

‘plausibly suggest that the plaintiff has a right to relief, raising that possibility above a speculative

level.’” Bell v. Chi. Cubs Baseball Club, LLC, No. 19-cv-2386, 2020 U.S. Dist. LEXIS 17527, at

*7-8 (N.D. Ill. Feb. 4, 2020) (quoting Cochran v. Illinois State Toll Highway Auth., 828 F.3d 597,

599 (7th Cir. 2016)). To meet this “plausibility standard,” a plaintiff must “plead[ ] factual content

that allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A complaint must contain “more than labels

and conclusions, and a formulaic recitation of the elements of a cause of action will not do…” Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). In evaluating the legal sufficiency of a

complaint, “it is proper for the Court to ‘consider, in addition to the allegations set forth in the

complaint itself, documents that are attached to the complaint, documents that are central to the

complaint and are referred to in it, and information that is properly subject to judicial notice.’”

Chi. Cubs Baseball Club, 2020 U.S. Dist. LEXIS 17527, at *8.

                                           IV. ARGUMENT

A.      THE FAC FAILS TO STATE A CLAIM UPON WHICH RELIEF CAN BE
        GRANTED.

        1.      Plaintiff’s State Law Claims Fail Because Plaintiff Has Not Alleged Any
                Wrongful Conduct by SoundExchange.

        Plaintiff has not alleged sufficient facts to plausibly suggest or allow the court to draw the

reasonable inference that SoundExchange is liable under any of Plaintiff’s state-law theories.


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        Plaintiff asserts causes of action for breach of contract and breach of warranty against all

defendants, yet does not allege any act or omission by SoundExchange that could constitute a

breach of any agreement with SoundExchange. The elements of a breach of contract claim are

that “(1) there was a valid and enforceable contract between the parties, (2) the plaintiff performed

the contract, (3) the defendant breached the contract, and (4) the plaintiff suffered damages as a

result.” Direct Energy Bus., LLC v. City of Harvey, No. 1-20-0629, 2021 Ill. App. LEXIS 247, at

*7 (Ill. App. 1st May 18, 2021). Plaintiff’s failure as to nearly all of the essential elements of the

claim warrants dismissal. See Vermette v. Cozad Asset Mgmt., No. 4-19-0354, 2020 Ill. App.

Unpub. LEXIS 475, at *34-35 (Ill. App. 4th Mar. 19, 2020) (affirming dismissal for failure to

allege breach and noting that “it is not the job of this court to prop up deficient pleadings by reading

in allegations of breach that do not exist”); W. Consol. Premium Props. v. Mc Risk Servs. LLC.,

No. 12 C 3481, 2012 U.S. Dist. LEXIS 203163, at *9 (N.D. Ill. Sep. 11, 2012) (dismissing breach

of contract claims against defendants not alleged to have entered contract with plaintiffs).

        Plaintiff’s unjust enrichment claim fares no better. “To state a cause of action upon a theory

of unjust enrichment, a plaintiff must allege that the defendant has unjustly retained a benefit to

the plaintiff’s detriment and that defendant’s retention of the benefit violates fundamental

principles of justice, equity, and good conscience.” Hatcher v. Hatcher, 158 N.E.3d 326, 330 (Ill.

App. 3d 2020); Saletech, LLC v. E. Balt, Inc., 20 N.E.3d 796, 808 (Ill. App. 1st 2014). “If an

unjust enrichment claim rests on the same improper conduct alleged in another claim, the unjust

enrichment claim ‘will be tied to this related claim—and, of course, unjust enrichment will stand

or fall with the related claim.’” Brinley Holdings, Inc. v. Husch Blackwell LLP, No. 19-cv-05242,

2022 U.S. Dist. LEXIS 3462, at *17 (N.D. Ill. Jan. 7, 2022) (quoting Cleary v. Philip Morris Inc.,

656 F.3d 511, 517 (7th Cir. 2011)).




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       The only relevant conduct alleged in the FAC is the “unauthorized” exploitation of the

sound recording for “All Dis Muzic.” Plaintiff’s unjust enrichment claim is therefore inextricably

tied to his copyright infringement claims, yet, as explained further below, Plaintiff cannot establish

his ownership of any rights in the song. Plaintiff granted and/or assigned the copyrights to DJ and

Pop Star pursuant to the Agreements. Without ownership of the copyrights, Plaintiff cannot plead

that any of the defendants retained a benefit, to his detriment, from their exploitation. See Saletech,

LLC, 20 N.E.3d at 808 (claim for unjust enrichment fails where defendants not alleged to have

obtained benefit); see also Brinley Holdings, 2022 U.S. Dist. LEXIS 3462, at *17-18 (“Unjust

enrichment is not a mode of imposing punitive damages; it is a means of recovering something

that the defendant is not entitled to but is unfairly possessing to the plaintiff’s detriment.”)

(emphasis in original). Good conscience requires nothing from SoundExchange as far as Plaintiff

is concerned, and, as a result, the cause of action for unjust enrichment should be dismissed.

       Plaintiff’s constructive trust cause of action also fails to state a claim. Constructive trust

is an equitable remedy imposed only “against one who, by some form of wrongdoing such as actual

or constructive fraud, breach of a fiduciary duty, duress, coercion or mistake, has been unjustly

enriched.” Gardner v. Cole, No. 4-13-0002, 2013 Ill. App. Unpub. LEXIS 2389, at *14 (Ill. App.

4th Oct. 24, 2013); Kaiser v. Fleming, 735 N.E.2d 144, 148 (Ill. App. 2d 2000); see Estate of

Brown v. ARC Music Grp., Inc., 830 F. Supp. 2d 501, 509 (N.D. Ill. 2011) (constructive trust claim

fails for inadequate pleading of fraud or the existence of a fiduciary relationship), aff’d, 523 F.

App’x 407 (7th Cir. 2013). The Seventh Circuit has noted that “a breach of contract ‘is not

analogous to the wrongful activity that has been found to warrant the imposition of a constructive

trust.’” Estate of Brown, 830 F. Supp. 2d at 509 (quoting Amendola v. Bayer, 907 F.2d 760, 763

(7th Cir. 1990)).




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       Plaintiff has alleged no wrongdoing by SoundExchange, and nothing sounding in fraud or

breach of fiduciary duty against any of the defendants. Thus, this claim too is untenable. See

Kaiser v. Fleming, 735 N.E.2d at 148-49 (affirming dismissal of constructive trust claim because

“the plaintiff failed to sufficiently allege a fiduciary relationship”); Estate of Brown, 830 F. Supp.

2d at 509 (“Where the Estate has made no specific allegations of wrongdoing against Music Sales

other than a failure to pay royalties due under a contract, this claim must be dismissed.”).

       The absence of any allegation in the FAC implicating conduct on the part of

SoundExchange also proves fatal to Plaintiff’s Illinois Consumer Fraud Act (“CFA”) claim. A

plaintiff bringing a CFA claim “must state with particularity and specificity the deceptive manner

of defendant’s acts or practices, and the failure to make such averments requires the dismissal of

the complaint.” Robinson v. Toyota Motor Credit Corp., 775 N.E.2d 951, 961 (Ill. 2002); see

Ambrosius v. Chi. Ath. Clubs, LLC, No. 1-20-0893, 2021 Ill. App. LEXIS 554, at *15 (Ill. App.

1st Sept. 30, 2021) (“A statutory consumer fraud claim must be pled with the same particularity

and specificity as that required under common law fraud.”). Plaintiff makes no such averments,

mandating dismissal. Finally, Plaintiff’s new cause of action in the FAC for “false unsubstantiated

allegations,” which appears to merely respond to SoundExchange’s motion to dismiss the original

Complaint, is not legally cognizable and fails to state a claim upon which relief can be granted.

       2.      Plaintiff’s Copyright Claims Fail Because Plaintiff Cannot Establish
               Ownership of a Valid Copyright.

       A copyright infringement claim has “two elements: ‘(1) ownership of a valid copyright,

and (2) copying of constituent elements of the work that are original.’” Chi. Cubs Baseball Club,

2020 U.S. Dist. LEXIS 17527, at *8 (quoting Design Basics, LLC v. Lexington Homes, Inc., 858

F.3d 1093, 1099 (7th Cir. 2017)). “‘[I]t is elementary that the lawful owner of a copyright is




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incapable of infringing a copyright interest that is owned by [it].’” Warrick v. Roberts, 34 F. Supp.

3d 913, 919 (N.D. Ill. 2014) (quoting Cortner v. Israel, 732 F.2d 267, 271 (2d Cir. 1984)).

       Counts I-III of Plaintiff’s FAC, which all sound in copyright infringement, fail because

Plaintiff cannot establish the first element of any copyright claim—his ownership of a valid

copyright. Plaintiff granted and/or assigned all rights in “All Dis Muzic” (among other works),

including the copyrights, when he entered into the Recording Agreement and Publishing

Agreement with DJ and Pop Star, respectively. (See McNally Decl., Ex. 1 ¶ 8; Ex. 2 ¶ 3.) Any

and all exploitation of “All Dis Muzic” by DJ and Pop Star, as well as by any of their successors,

assignees, and licensees, was authorized and done pursuant to DJ’s and Pop Star’s ownership of

the underlying copyrights, free from any adverse claim by Plaintiff. Plaintiff cannot establish his

ownership of a valid copyright in “All Dis Muzic,” and thus these causes of action should be

dismissed with prejudice.

       The essential facts here are similar to those in Warrick v. Roberts, where the court granted

a motion to dismiss copyright infringement and related state law claims. See 34 F. Supp. 3d at

914-15. The plaintiffs were a songwriting duo that created the gospel musical composition, “I’m

So Grateful (Keep in Touch),” a recording of which was sampled in the 2012 song “3 Kings,”

distributed by UMG Recordings, Inc. (“Universal”) and featuring performances by hip-hop artists

Rick Ross, Dr. Dre and Jay-Z. Id. at 915. The plaintiffs, apparently upset that elements of their

gospel work were used as background music for “unsavory” rap lyrics, sued for copyright

infringement. Id. at 915-16. The defendants claimed Universal held the sole copyright in the work

and had licensed their activities, identifying a 1974 Exclusive Songwriter’s and Composer’s

Agreement between one of the plaintiffs and ABC/Dunhill Music, Inc., Universal’s predecessor-

in-interest. Id. at 916. The court quoted provisions from that agreement remarkably similar to the




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grant of rights contained in the Publishing Agreement. Compare id. at 916-17 (quoting sweeping

release of all rights, including copyrights, worldwide), with McNally Decl., Ex. 2 ¶ 3 (same).

       The court found “ultimately dispositive” the “inescapable” fact that one plaintiff had

transferred her rights to ABC Dunhill, Universal’s predecessor, making Universal, at a minimum,

a co-owner of the copyright in “Grateful.” Id. at 914, 919. The court reasoned that the 1974

publishing agreement “could not be more clear: Shepherd was selling in its totality her interest in

the musical works,” and “any ordinary reader of the English language would be on notice that the

rights granted to ABC/Dunhill were extremely broad.” Id. at 921. “Because Universal acted in

accordance with the rights that Shepherd ceded to it in the 1974 Agreement,” the court concluded,

“it cannot be held liable for infringement . . . [and] neither Dr. Dre, Jay Z, Rick Ross nor any of

the other defendants can be held liable for infringement, for they produced and performed 3 Kings

in accordance with licenses validly given by Universal.” Id. at 922; see also Stavrinides v. Vin De

Bona, No. 2:18-cv-00314-CAS(JPRx), 2018 U.S. Dist. LEXIS 41305, at *9 (C.D. Cal. Mar. 12,

2018) (granting motion to dismiss copyright claim pursuant to agreement “irrevocably grant[ing]”

the defendants the right “to freely use and exploit the [plaintiffs’] videos in any manner”).

       Plaintiff places inordinate and unjustifiable reliance upon his copyright registration.

However, he ignores the fact that, irrespective of his purported authorship and filing of a

registration application, he subsequently transferred all of his rights, including the copyrights in

both the sound recording and the underlying musical composition for “All Dis Muzic,” to DJ and

Pop Star, respectively. The registration is not imbued with special powers permitting Plaintiff to

ignore his own valid transfer of rights. A copyright registration creates a rebuttable presumption

of authorship and ownership, but that presumption may be rebutted by agreements, such as those




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here, that transfer ownership to third parties. See Kast v. Chrysler Corp., No. 96 C 6657, 1997

U.S. Dist. LEXIS 7769, at *9 (N.D. Ill. May 27, 1997).

        In the present case, the Agreements “could not be more clear” and it is likewise

“elementary” that DJ and Pop Star could not infringe the copyright interests owned by them, nor

could any of their successors, assignors, or licensees. See Warrick, 34 F. Supp. 3d at 919-21.

Moreover, SoundExchange’s role is defined and subscribed by the Copyright Act to simply collect

and disburse royalties. See 17 U.S.C. § 114(f)-(g); 37 C.F.R. § 380.4. Thus, Plaintiff has not (and

cannot) allege that SoundExchange acted or authorized anyone else to act in violation of the

exclusive rights held by a copyright owner pursuant to the Copyright Act. See 17 U.S.C. § 106;

Scholz Design, Inc. v. Jaffe, 488 F. Supp. 2d 749, 749 (N.D. Ill. 2007) (no direct infringement

liability where defendants did not violate any Section 106 exclusive rights). Counts I-III of the

Complaint must be dismissed.

B.      THE FAC IS BARRED BY THE APPLICABLE STATUTES OF LIMITATION.

        All of Plaintiff’s claims should also be dismissed because each is time-barred by the

applicable statute of limitations. First, in Illinois, there is a ten-year limitations period for breach

of written contract claims. See Armstrong v. Guigler, 673 N.E.2d 290, 293 (Ill. 1996); 735 ILCS

5/13-206 (“[A]ctions on bonds, promissory notes, bills of exchange, written leases, written

contracts, or other evidences of indebtedness in writing . . . shall be commenced within 10 years

next after the cause of action accrued[.]”). “An action for breach of contract accrues when the

breach of the contractual duty or obligation occurs[.]” Hassebrock v. Ceja Corp., 29 N.E.3d 412,

422 (Ill. App. 5th 2015) (internal citations, alterations, and quotation marks omitted); see Hoover

v. Country Mut. Ins. Co., 975 N.E.2d 638, 649 (Ill. App. 3d 2012) (“[F]or contract actions and torts

arising out of contractual relationships, the cause of action accrues at the time of the breach of the

contract, not when a party sustains damages.”); Estate of Brown, 830 F. Supp. 2d at 511.


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       The only contracts referred to in the FAC are the 1986 Recording Agreement and the 1987

Publishing Agreement. Plaintiff acknowledges and expressly alleges that any alleged breach of

those Agreements occurred more than three decades ago. (See FAC ¶ 28 (“[S]omeone else has

been depositing the 50% split of publishing income from the song ‘All Dis Music’ from the date

of its inception [1987 to 2021].”); id. at ¶ 70 (“Since in or about 1986, Defendants, individually

and/or collectively and/or its successors in interest and/or persons or entities acting through them

or under their authority . . . have continued to exploit the Compositions and Recordings entitled

‘All Dis Music’....”).) Any conceivable contract claim that Plaintiff could assert against DJ or Pop

Star would have accrued when those defendants first failed to pay Plaintiff under the Agreements,

and would have been rendered untimely under the ten-year statute of limitations sometime in the

late 1990s—decades before Plaintiff initially filed this lawsuit in 2021.

       Accordingly, the statute of limitations bars Plaintiff’s causes of action sounding in breach

of contract. See Travelers Cas. & Sur. Co. v. Bowman, 893 N.E.2d 583, 593 (Ill. 2008) (cause of

action to enforce indemnity agreement untimely if commenced more than ten years after

defendants failed or refused to tender payment); Chi. Title Land Tr. Co. v. Potash Corp. of Sask.

Sales Ltd., No. 1-12-3550, 2013 Ill. App. Unpub. LEXIS 1662, at *8-9 (Ill. App. 1st Jul. 31, 2013)

(holding that “the cause of action for breach of contract accrued when PCS Sales (Canada)

cancelled the lease without paying the plaintiffs the cancellation fee,” and affirming dismissal on

statute of limitations grounds); see also Martin Cartage & Express, Inc. v. Arthur J. Gallagher &

Co., No. 2-11-1271, 2012 Ill. App. Unpub. LEXIS 1671, at *18 (Ill. App. 2d Jul. 10, 2012)

(“Hoping a party will remedy a breach does not delay accrual of the breach of contract action.”).

       Second, the statute of limitations for both unjust enrichment and constructive trust claims

under Illinois law is five years and begins to run once “the plaintiff knew, or reasonably should




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have known, that he has been injured and that his injury was wrongfully caused.” Rush Univ. Med.

Ctr. v. Draeger, Inc., No. 17 C 6043, 2017 U.S. Dist. LEXIS 189588, at *5 (N.D. Ill. Nov. 16,

2017) (internal citation omitted); see Sundance Homes v. Cty. of Du Page, 746 N.E.2d 254, 263

(Ill. 2001) (noting that Illinois courts apply five-year statute of limitation to both claims); Held v.

Held, 137 F.3d 998, 1002 (7th Cir. 1998) (applying five-year statute of limitations in 735 ILCS

5/13-205 to action for enforcement of a constructive trust). The discovery rule disposes of these

causes of action in Plaintiff’s FAC (Counts VI-VII).

       Plaintiff admittedly became aware of the allegedly unlawful exploitation underlying the

FAC as early as 2003, and began making inquiries regarding this matter to some defendants,

reflecting his discovery and awareness, no later than August 2005. (See FAC ¶¶ 96, 105-06.)

Plaintiff filed this action in September 2021, more than sixteen years later and at least thirteen

years after the statute of limitations for unjust enrichment and constructive trust expired by August

2008. Therefore, these claims are untimely and should be dismissed. See Estate of Brown, 830 F.

Supp. 2d at 511 (dismissing unjust enrichment, constructive trust, and other claims as time-barred).

       Third, the CFA imposes a three-year statute of limitations, likewise from the date “when a

person knows or reasonably should know of his injury and also knows or reasonably should know

that it was wrongfully caused.” Mosier v. Vill. of Holiday Hills, 128 N.E.3d 1210, 1218 (Ill. App.

2d 2019); see 815 ILCS 505/10a(e). Plaintiff’s statutory fraud claim (Count VIII) also expired no

later than August 2008, pursuant to Plaintiff’s alleged discovery of wrongful exploitation and

missing payments by at least August 2005. See Mosier, 128 N.E.3d at 1218 (affirming dismissal

with prejudice where plaintiffs filed suit more than three years after learning of the alleged injury).

       Fourth, the Copyright Act provides a three-year statute of limitations for civil infringement

claims. See 17 U.S.C. § 507(b). “The Seventh Circuit has adopted ‘a discovery rule in copyright




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cases: [t]he copyright statute of limitations starts to run when the plaintiff learns, or should as a

reasonable person have learned, that the defendant was violating his rights.’” Energy Intelligence

Grp. v. Exelon Generation Co., No. 20-cv-3983, 2021 U.S. Dist. LEXIS 76688, at *14 (N.D. Ill.

Apr. 21, 2021) (quoting Chi. Bldg. Design, P.C. v. Mongolian House, Inc., 770 F.3d 610, 614 (7th

Cir. 2014)) (internal alteration and quotation marks omitted). Although “any infringing act within

[a] three-year look-back period . . . can form the basis of an infringement claim,” this rule only

“applies to ordinary infringement suits, not suits in which the central dispute is copyright

ownership.” Consumer Health Info. Corp. v. Amylin Pharms., Inc., 819 F.3d 992, 996 (7th Cir.

2016). “[C]opyright claims premised on disputes about ownership accrue ‘when plain and express

repudiation of co-ownership is communicated to the claimant, and are barred three years from the

time of repudiation.’” Id. (quoting Seven Arts Filmed Entm’t, Ltd. v. Content Media Corp. PLC,

733 F.3d 1251, 1254 (9th Cir. 2013)) (internal quotation marks omitted).

        Here, Plaintiff’s copyright infringement claims (Counts I-III) are premised on a dispute of

ownership and accrued upon the first express repudiation of his ownership in the copyright for

“All Dis Muzic,” which Plaintiff himself alleges occurred in or around 1987, and in no event later

than August 2005.     Accordingly, these causes of action expired over a decade or more before

Plaintiff initiated this action and should be dismissed pursuant to the Copyright Act’s three year

statute of limitations. See Consumer Health, 819 F.3d 992 at 997.

C.      FURTHER AMENDMENT WOULD BE FUTILE AND THE FAC SHOULD BE
        DISMISSED WITH PREJUDICE.

        It is established within the Seventh Circuit that a court may dismiss a complaint with

prejudice “if it is clear that any amendment would be futile.” Bogie v. Rosenberg, 705 F.3d 603,

608 (7th Cir. 2013); see Right Field Rooftops, LLC v. Chi. Cubs Baseball Club, LLC, 870 F.3d

682, 693 (7th Cir. 2017) (affirming dismissal with prejudice and noting that district courts “have



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broad discretion to deny leave to amend where there is . . . repeated failure to cure deficiencies,

undue prejudice to the defendants, or where the amendment would be futile.”) (internal citation

omitted); Smith v. Convergent Outsourcing, Inc., 539 F. Supp. 3d 929, 935 (N.D. Ill. 2021). The

circumstances here are analogous to those in Hughes v. Southwest Airlines Co., where the court

dismissed an amended complaint with prejudice, concluding that because the plaintiff had “again

failed to sufficiently allege the elements of a breach of contract claim, and the Contract expressly

precludes [plaintiff’s] claim, an additional opportunity to amend would be futile … .” 409 F. Supp.

3d 653, 659 (N.D. Ill. 2019), aff’d, 961 F.3d 986 (7th Cir. 2020).

       Plaintiff has already taken one opportunity to amend and filed the FAC, but not only has

he failed to cure the Complaint’s dispositive defects, it is clear that no set of facts exists under

which Plaintiff can establish his ownership of the copyrights at issue, any wrongful conduct on the

part of defendant SoundExchange, or that his claims are not fully time-barred. Even the leeway

generally afforded to pro se litigants does not countenance continued litigation of the FAC’s

frivolous claims, which therefore should be dismissed with prejudice. See Hart v. Amazon.com,

Inc., 191 F. Supp. 3d 809, 826 (N.D. Ill. 2016) (“The Court has expressed sympathy for Plaintiff’s

frustrations with Amazon in its previous order[;] . . . however, Plaintiff does not allege any factual

content that would support a cognizable claim under the law. Thus, the Court concludes that any

amendment would be futile and the dismissed amended complaint is with prejudice.”), aff’d, 845

F.3d 802 (7th Cir. 2017).

                                       V. CONCLUSION

       For all of the above reasons, defendant SoundExchange, Inc. respectfully asks that the

Court grant its motion to dismiss Plaintiff’s FAC with prejudice, and award such other relief that

the Court deems just and proper.




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Dated: Chicago, Illinois
       April 4, 2022

                                      Respectfully submitted,


                                      LOEB & LOEB LLP

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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 KENNETH WRIGHT,                        )
                                        )
       Plaintiff,                       )
                                        )                      Case No.: 1:21-cv-5085
 v.                                     )
                                        )                      Judge Franklin U. Valderrama
 DJ INTERNATIONAL RECORDS, ASCAP, )
 POP STAR PUBLISHING, LONDON            )                      Magistrate Judge Sheila M.
 RECORDS/FFRR, BOLLORÉ SE,              )                      Finnegan
 VIVENDI SE, THE SEAGRAM                 )
 COMPANY LTD., WARNER BROS.,             )
 HARMLESS RECORDS, POLYDOR               )
 JAPAN, VIRGIN EMI, DEMON MUSIC,        )
 PEERMUSIC, SOUNDEXCHANGE,              )
 SPOTIFY, BMI AND UNIVERSAL             )
 MUSIC GROUP, AND JOHN DOES 1-10,       )
                                        )
       Defendants.                      )
 _______________________________________)

                                  DECLARATION OF LAURA K. MCNALLY

        I, LAURA K. MCNALLY, hereby declare as follows under penalty of perjury pursuant to 28

U.S.C. § 1746.

        1.       I am a partner with Loeb & Loeb LLP, attorneys for Defendant SoundExchange, Inc.

(“SoundExchange”) I am admitted to practice in the State of Illinois and in the U.S. District Court for the

Northern District of Illinois.

        2.       I am fully familiar with the facts set forth herein, and respectfully submit this Declaration

in Support of SoundExchange’s Motion to Dismiss the Amended Complaint of Plaintiff Kenneth Wright

(“Plaintiff”).

        3.       Exhibit 1 hereto is a true and correct copy of a Contract for Recording Artists, dated

October 6, 1986, between Plaintiff and Defendant DJ International Records.
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       4.     Exhibit 2 hereto is a true and correct copy of an Exclusive Songwriter’s Agreement, dated

February 4, 1987, between Plaintiff and Defendant Pop Star Publishing.

       5.     Exhibit 3 hereto is a true and correct copy of the U.S. Copyright Office Official Public

Catalog record for “All Dis Muzic,” Registration No. SRu000100565.

Dated: Chicago, Illinois
       April 4, 2022

                                                                 /s/ Laura K. McNally
                                                                LAURA K. MCNALLY




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        EXHIBIT 1
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